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                                 UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

    Antonio McCladdie El,

         Plaintiff,
                                                    No. 24 CV 4385
    v.
                                                    Judge Lindsay C. Jenkins
    United Airlines, Inc.,

         Defendant.

                              Memorandum Opinion and Order

      McCladdie El’s motion for clarification [dkt. 78] is granted in part and denied
in part. The court previously granted McCladdie El’s prior motion for clarification
made on similar grounds [dkt. 74], providing additional context aimed at helping
McCladdie El, who is pro se, understand the status of his lawsuit. McCladdie El
maintains that some of his questions remain unanswered so the court again attempts
to answer them. [Dkt. 78 at 2.] However, McCladdie El’s requests for relief are denied.

       First, McCladdie El claims that United should not be permitted to file
dispositive motions including a partial motion for summary judgment given its lack
of responsiveness to McCladdie El’s communications before filing suit. [Id.] As the
court previously explained, McCladdie El’s pre-litigation notices were not legal
notices from a court and, therefore, United had no obligation to respond prior to being
served with McCladdie El’s complaint. [See dkt. 74; dkt. 64 at 3 n.4.] McCladdie El’s
constitutional rights, including what he refers to as a “right to procedural fairness,”
were not prejudiced by United’s disinterest in resolving McCladdie El’s claims pre-
suit. [Dkt. 78 at 2.] His constitutional rights were also not prejudiced by the Court
permitting United to file dispositive motions. 1

        Second, McCladdie El argues that he should not have to engage in summary
judgment briefing prior to the completion of all discovery. “District judges have wide
discretion to manage their proceedings.” Ewing v. 1645 W. Farragut LLC, 90 F.4th
876, 889 (7th Cir. 2024) (citation and internal quotation marks omitted). The “mere
fact that discovery is incomplete is not enough to prevent summary judgment.” Alicea
v. County of Cook, 88 F.4th 1209, 1218-1219 (7th Cir. 2023) (citing Smith v. OSF
HealthCare Sys., 933 F.3d 859, 864 (7th Cir. 2019); cf. Woods v. City of Chicago, 234
F.3d 979, 990 (7th Cir. 2000) (“A district court’s decision to consider a defendant's
motion for summary judgment before allowing the plaintiff to depose certain

1     The court interprets McCladdie El’s argument with respect to a “judicial enforcement
imbalance” [id.] as related to this same issue. The court’s answer applies to both questions.
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witness[es] is a discovery matter which we review for abuse of discretion.”) And
“limiting discovery to a threshold issue is proper in a case that may be resolved upon
summary judgment.” Oliver v. Franks, 2005 WL 2989310, at *2 (E.D. Wis. Nov. 7,
2005) (collecting cases). That is particularly true where the threshold issue is
“[e]xhaustion of administrative remedies” which “is a condition precedent to suit.” Id.

       In this case, as previously explained, there is a substantial barrier to
McCladdie El’s successful prosecution of his claims: whether he timely filed suit after
receipt of his EEOC right-to-sue letter. If he did not, his case must be dismissed
without consideration of its merits. Given that, permitting discovery on the merits of
his claims would be contrary to the court’s interest in efficiently managing its docket.
However, if in resolving United’s partial summary judgment motion the court finds
factual issues prevent it from determining the timeliness of McCladdie El’s suit, see,
e.g., Malozienc v. Pacific Rail Services, 606 F. Supp. 2d 837, 880 (N.D. Ill. 2009), the
court will permit complete discovery on the merits of his claims.

      Third, McCladdie El again invokes his right to a jury trial, taking issue with
the “court’s apparent bypass of jury trial by prematurely shifting to summary
judgment.” [Dkt. 78 at 2-3.] The court directs McCladdie El to its response to this
question at docket 74. Should any issues of fact remain following resolution of
United’s partial motion for summary judgment (or, if discovery eventually occurs on
the merits of McCladdie El’s Title VII claims), McCladdie El is entitled to a jury trial
on those issues.

      For the reasons explained, McCladdie El’s requests for relief related to his
motion for clarification are denied. The court will resolve United’s partial motion for
summary judgment on the exhaustion issue promptly so, if issues of fact remain, the
parties will engage in full discovery on the merits of McCladdie El’s claims.

       Before concluding on this issue, the court notes that what McCladdie El calls
a motion for clarification is actually a motion for reconsideration of the court’s prior
rulings. He isn’t asking for help understanding the court’s rulings; he is asking the
court to, among other things, permit complete discovery on the merits of his claims,
prohibit United from filing dispositive motions, and convene a jury to resolve his
claims. That’s a motion for reconsideration. “Motions for reconsideration will be
granted only where the court has patently misunderstood a party, or has made a
decision outside the adversarial issues presented to the court by the parties, or has
made an error not of reasoning but of apprehension.” Clay Fin. LLC v. Mandell, 2022
WL 18159332, at *2 (N.D. Ill. Sept. 16, 2022) (cleaned up). It cannot be used as a
“medium to ‘rehash’ past arguments,” which is how McCladdie El is using it now. Id.
In the future, McCladdie El should only file a motion for reconsideration where he is
able to identify “a valid basis for reconsideration.” Id. at *3.

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       McCladdie El has also filed a motion to strike or exclude [dkt. 79]. That motion
relates to two partially redacted documents United submitted with its motion for
summary judgment. [Dkts. 76-4 and 76-6.] McCladdie El argues that the documents
contain “material redactions” that prevent him from evaluating “the full content,
context, and reliability of the documents,” and the “omissions deny Plaintiff due
process and materially prejudice Plaintiff’s ability to oppose summary judgment.”
[Dkt. 79 at 2-3.] According to McCladdie El, United should have sought a protective
order rather than “unilaterally and improperly” making redactions to the documents.
[Id.]

       The documents at issue were obtained by United from the EEOC through a
Freedom of Information Act request United issued during fact discovery on the
question of whether McCladdie El filed his lawsuit within 90-days of his receipt of
the EEOC right-to-sue letter. [Dkt. 82-1, at ¶ 4.] United requested a copy of
McCladdie El’s EEOC Charge File. [Id.] As explained in United’s response brief, 2 the
documents received in response to the FOIA request were redacted by the EEOC
using 5 U.S.C. § 552(b), a practice that is required by statute. 3 [Dkt. 82 at 5-6.]
Specifically, EEOC officials redacted McCladdie El’s email address, analysis and
recommendations made by EEOC personnel, and documents containing mediation
information as described in § 552(b). [Id. at 6.]

       The motion to strike or exclude is denied. Based on the declaration submitted
by United, the court is satisfied that United received the documents with redactions
imposed by the EEOC under § 552(b). The bases for the EEOC’s redactions were
explained in the EEOC’s March 3, 2025 FOIA Determination Letter, a subject over
which United had no influence or control. [Dkt. 82-1 at 8-13.] United produced a copy
of the Determination Letter along with the Charge File to McCladdie El on May 7,
2025, before the motion for summary judgment was filed. [Dkt. 82-1, at ¶ 6; page 15.]



2      McCladdie El objects to the court allowing United to file a response to his motions, see
dkt. 81, stating that “Plaintiff's Motion for Clarification requested the Court to interpret its
own orders—not opposing counsel. Delegating that function to the Defendant violates the
most fundamental principle of judicial duty.” [Id at 2.] He also objects to the court’s directive
that he could not file a reply brief. Lawsuits are adversarial; there is nothing improper or
even unusual about permitting an opponent to file a response stating its position on matters
raised by a request to clarify. Regarding any reply, McCladdie El has been provided more
than one meaningful opportunity to be heard on the matters raised by the current motions
and by his prior motion for clarification, which raises substantially the same issues as those
discussed above. A reply is unnecessary.
3      FOIA requires government agencies to disclose their records to the public. 5 U.S.C. §
552(a). However, subsection (b) exempts nine categories of material “that represent the
congressional determination of the types of information that the Executive Branch must have
the option to keep confidential, if it so chooses. Appleton Papers, Inc. v. EPA, 702 F.3d 1018,
1024–25 (7th Cir. 2012) (quoting FTC v. Grolier Inc., 462 U.S. 19, 23 (1983)).
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       Lastly, the court does not agree that the redactions deny McCladdie El “due
process and materially prejudice” him or his ability to oppose summary judgment.
[Dkt. 79 at 2.] By all accounts, the Charge File produced by the EEOC satisfies the
requirements for authenticity within the meaning of Federal Rule of Evidence 901(a).
McCladdie El fails to articulate how any of the redactions—of his email address, the
EEOC’s internal deliberations, and mediation efforts—bear on the issue at hand:
whether his Title VII lawsuit was timely filed upon receipt of a right-to-sue letter.
There is no basis for striking or excluding the documents, so the motion is denied.

Enter: 24 CV 4385
Date: June 12, 2025

                                       __________________________________________
                                       Lindsay C. Jenkins




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